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                     7
                                                       UNITED STATES DISTRICT COURT
                     8
                                                              DISTRICT OF NEVADA
                     9

                   10     DANNY EISENBERG,                                   CASE NO.:       2:19-cv-00439-JCM-DJA

                   11                           Plaintiff,
                                                                             STIPULATION AND ORDER TO
                   12     vs.                                                EXTEND TIME TO FILE REPLY IN
                                                                             SUPPORT OF MOTION FOR SUMMARY
                   13     J. PAUL WIESNER & ASSOCIATES,                      JUDGMENT
                          CHARTERED, a Nevada Professional
                   14     Corporation, doing business as RADIOLOGY           (FIRST REQUEST)
                          ASSOCIATES OF NEVADA; and PUEBLO
                   15     MEDICAL IMAGING, LLC, a Nevada limited
                          liability company,
                   16
                                                Defendants.
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                   19            The parties to this action, by and through their undersigned counsel, stipulate and agree to

                   20     extend the deadline for Defendants to file their Reply in Support of Motion for Summary Judgment

                   21     from May 15, 2020 to May 29, 2020. Defendants filed their Motion for Summary Judgment (ECF

                   22     No. 26) on March 27, 2020, and Plaintiff filed his Opposition (ECF No. 33) on May 1, 2020.

                   23     Pursuant to LR 7-2(b), the deadline for Defendants to file their Reply was originally set for May

                   24     15, 2020.

                   25            This is the first request for an extension of time for this deadline, and the request is not

                   26     made for the purpose of delay. The parties submit that good cause appears for this brief extension,

                   27     as there is a large volume of new material to review to prepare the Reply, and the parties are

                   28     engaging in a discussion to potentially have one of the named defendants dismissed from the
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                     1    action. The parties respectfully request sufficient time to complete briefing for the Court, as well

                     2    as potentially resolve the identified issue with the parties.

                     3     Dated this 14th day of May, 2020.                   Dated this 14th day of May, 2020.

                     4     GARG GOLDEN LAW FIRM                                LAW OFFICES OF ROBERT P. SPRETNAK

                     5

                     6     By /s/ Anthony B. Golden                            By     /s/ Robert P. Spretnak
                             ANTHONY B. GOLDEN, ESQ.                                ROBERT P. SPRETNAK, ESQ.
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                     9        Counsel for Defendants                               Counsel for Plaintiff

                   10

                   11
                                                                        ORDER
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                                                                         IT IS SO ORDERED:
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                                                                                                         ____
                   15                                                    UNITED STATES DISTRICT COURT JUDGE
                                                                         UNITED STATES MAGISTRATE JUDGE
                   16

                   17                                                                  May 15, 2020
                                                                         DATED:
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